                                                                 ELECTRONICALLY FILED
                                                    COURT
Case: 3:22-cv-00100-MJN-CHG Doc #: 1-10 Filed: 04/14/22    OF COMMON
                                                        Page:  1 of 40 PLEAS
                                                                           PAGEID #: 65
                                                    Thursday, April 14, 2022 10:29:58 AM
                                                                 CASE NUMBER: 2022 CV 01134 Docket ID: 36234398
                                                                 MIKE FOLEY
                                                                 CLERK OF COURTS MONTGOMERY COUNTY OHIO




         IN THE COMMON PLEAS COURT OF MONTGOMERY COUNTY, OHIO
                              CIVIL DIVISION

 OLWIN METAL FABRICATION LLC                        :
 1933 Kuntz Road                                    :
 Dayton, OH 45404,                                  :
                                                    :   CASE NO: 2022 CV 01134
             Plaintiff,                             :
                                                    :   JUDGE MARY E. MONTGOMERY
 vs.                                                :
                                                    :
 MULTI-CAM, INC.                                    :   PLAINTIFF’S FIRST
 1025 West Royal Lane                               :   AMENDED COMPLAINT
 DFW Airport, TX 75261,                             :
                                                    :
       and                                          :
                                                    :
 MULTICAM GREAT LAKES, INC.                         :
 d/b/a MULTICAM OHIO VALLEY                         :
 TECHNOLOGY CENTER                                  :
 2727 Elmridge Drive NW                             :
 Grand Rapids, MI 49534,                            :
                                                    :
 Also serve at:                                     :
 18 Carnegie Way                                    :
 Cincinnati, OH 45246                               :
                                                    :
             Defendants.                            :


         Now comes Plaintiff, Olwin Metal Fabrication LLC (“Plaintiff” or “Olwin”), by and

through its counsel, and for its First Amended Complaint against Defendants, Multi-Cam, Inc. and

MultiCam Great Lakes, Inc. d/b/a MultiCam Ohio Valley Technology Center (collectively

“Defendants”), pleads as follows:

                          FACTS COMMON TO ALL CAUSES OF ACTION

         1.        Plaintiff, Olwin Metal Fabrication LLC, is an Ohio limited liability company with

its principal place of business in Montgomery County, Ohio and is engaged in the business of



                                             EXHIBIT H
Case: 3:22-cv-00100-MJN-CHG Doc #: 1-10 Filed: 04/14/22 Page: 2 of 40 PAGEID #: 66




metal fabrication.

       2.        Defendant, Multi-Cam, Inc., is a Texas corporation with its principal place of

business in Tarrant and Dallas Counties, Texas and is engaged in the business of manufacturing

cutting machines.

       3.        Defendant, MultiCam Great Lakes, Inc. d/b/a MultiCam Ohio Valley Technology

Center, is a Michigan corporation with its principal place of business in Kent County, Michigan

and is engaged in the business of manufacturing cutting machines.

       4.        Defendant, MultiCam Great Lakes, Inc. d/b/a MultiCam Ohio Valley Technology

Center also has a location in Butler County, Ohio where it is engaged in the business of

manufacturing cutting machines. A true and accurate copy of Defendant, MultiCam Great Lakes,

Inc. d/b/a MultiCam Ohio Valley Technology Center’s website page is attached hereto as

Exhibit A.

       5.        However, according to the Ohio Secretary of State, Defendant, MultiCam Great

Lakes, Inc. d/b/a MultiCam Ohio Valley Technology Center is not registered to do business in the

State of Ohio.

       6.        On or about November 12, 2021, Olwin and MultiCam began discussions about

Olwin’s interest in purchasing the ARCOS Series Plasma Machine (the “Machine”) from

MultiCam.

       7.        On November 17, 2021, a day prior to Olwin’s decision to purchase the Machine,

Olwin received an email from MultiCam providing specific assurances as to the Machine’s

capabilities. A true and accurate copy of the email from Brian Newhouse to Derrick Olwin is

attached hereto as Exhibit B.




                                          EXHIBIT
                                              2   H
Case: 3:22-cv-00100-MJN-CHG Doc #: 1-10 Filed: 04/14/22 Page: 3 of 40 PAGEID #: 67




       8.      Relying on the specific representations from MultiCam, Olwin purchased the

Machine from Defendants on November 18, 2021. Also on that date, Olwin put down a 50%

deposit on the Machine, totaling $111,652.00.

       9.      The ARCOS Bridge & Rail Plasma Agreement (“Agreement”) included an express

warranty guaranteeing the Machine would be “fully functional and operating properly” at the time

of installation. A true and accurate copy of the Agreement is attached hereto as Exhibit C.

       10.     On or about December 16, 2021, Olwin paid the remaining 50% due on the

Machine, for a total purchase price of $223,304.00.

       11.     On or about December 20, 2021, the Machine was delivered to Olwin’s place of

business in Montgomery County, Ohio.

       12.     From January 10, 2022, through January 18, 2022, MultiCam’s subcontractor

installed the machine and performed training for Olwin on the Machine.

       13.     From the date of installation until present, the Machine has not worked as promised.

Problems include, but are not limited to, the following: the 5-axis feature does not work properly

when attempting to bevel; the Machine will not part mark with the Hypertherm XPR as it should

(without modification of G-code); and the Machine will not pre-pierce (without modification of

G-code).

       14.     To date, Defendants have failed to address Plaintiff’s concerns of the Machine’s

failings, despite Plaintiff’s efforts to communicate them directly to Defendants.

       15.     As a result of the Machine’s failure to fully function and operate properly at the

time of installation, Olwin did not accept the Machine.

       16.     Plaintiff has been damaged in the principal amount of $223,304.00 (the cost of the

Machine), together with damages from lost time, lost materials, lost profits, loss of business and


                                          EXHIBIT
                                              3   H
Case: 3:22-cv-00100-MJN-CHG Doc #: 1-10 Filed: 04/14/22 Page: 4 of 40 PAGEID #: 68




incidentals, plus attorneys’ fees incurred and to be incurred in connection with prosecuting this

claim, interest and costs, which are all related to the Machine’s various deficiencies.


                                   FIRST CLAIM FOR RELIEF
                                    BREACH OF CONTRACT

       17.     Plaintiff restates the prior paragraphs of this pleading as if fully rewritten herein.

       18.     The foregoing actions and/or inactions of Defendants constitute material breaches

of the Agreement.

       19.     As a direct result of Defendants’ breach of the Agreement, Plaintiff has been

damaged in the principal amount of $223,304.00 (the cost of the Machine), together with damages

from lost time, lost materials, lost profits, loss of business and incidentals, plus attorneys’ fees

incurred and to be incurred in connection with prosecuting this claim, interest and costs which are

all related to the Machine’s various deficiencies.

                               SECOND CLAIM FOR RELIEF
                                     NON-ACCEPTANCE
                               Tex. Bus. & Com. Code Sec. 2.606

       20.     Plaintiff restates the prior paragraphs of this pleading as if fully rewritten herein.

       21.     Due to the Machine’s deficiencies at the time of installation, Plaintiff could not

accept the Machine as installed.

       22.     As a result of Plaintiff’s non-acceptance, Plaintiff has been damaged in the principal

amount of $223,304.00 (the cost of the Machine), together with damages from lost time, lost

materials, lost profits, loss of business and incidentals, plus attorneys’ fees incurred and to be

incurred in connection with prosecuting this claim, interest and costs which are all related to the

Machine’s various deficiencies.




                                           EXHIBIT
                                               4   H
Case: 3:22-cv-00100-MJN-CHG Doc #: 1-10 Filed: 04/14/22 Page: 5 of 40 PAGEID #: 69




                                THIRD CLAIM FOR RELIEF
                              REVOCATION OF ACCEPTANCE
                               Tex. Bus. & Com. Code Sec. 2.608

       23.     Plaintiff restates the prior paragraphs of this pleading as if fully rewritten herein.

       24.     This cause of action is pled in the alternative, in the event it is determined that

Plaintiff accepted the Machine as installed.

       25.     Plaintiff has since revoked its acceptance of the Machine based on the Machine’s

non-conformity, which substantially impairs its value to Plaintiff.

       26.     As a result of the Machine’s deficiencies, Plaintiff has been unable to use the

Machine as delivered and has been damaged in the principal amount of $223,304.00 (the cost of

the Machine), together with damages from lost time, lost materials, lost profits, loss of business

and incidentals, plus attorneys’ fees incurred and to be incurred in connection with prosecuting

this claim, interest and costs which are all related to the Machine’s various deficiencies.


                               FOURTH CLAIM FOR RELIEF
                                       FRAUD

       27.     Plaintiff restates the prior paragraphs of this pleading as if fully rewritten herein.

       28.     Defendants and their employees and/or agents acting within the course and scope

of their employment, and/or within the actual or apparent authority of their agency, made material

representations as to the capabilities of the Machine including, but not limited to, the

representations made in Exhibit B and Exhibit C, upon which Plaintiff relied when considering the

purchase of the Machine (the “Representations”).

       29.     At all relevant times, the Representations were false and were known by Defendants

to be false; or alternatively, were made with reckless disregard of their truth or falsity. Such

Representations were made with the intent that Plaintiff rely thereon to its detriment.


                                           EXHIBIT
                                               5   H
Case: 3:22-cv-00100-MJN-CHG Doc #: 1-10 Filed: 04/14/22 Page: 6 of 40 PAGEID #: 70




       30.      Plaintiff did, in fact, rely to its detriment on such Representations by agreeing to

purchase the Machine even though the Machine was not capable of performing in the ways in

which Defendants specifically represented.

       31.      As a direct and proximate cause of Defendants’ material misrepresentations, and

Plaintiff’s detrimental reliance thereon, Plaintiff has been damaged in the principal amount of

$223,304.00 (the cost of the Machine), together with damages from lost time, lost materials, lost

profits, loss of business and incidentals, plus attorneys’ fees incurred and to be incurred in

connection with prosecuting this claim, interest and costs which are all related to the Machine’s

various deficiencies.

                                  FIFTH CLAIM FOR RELIEF
                                    UNJUST ENRICHMENT

       32.      Plaintiff restates the prior paragraphs of this pleading as if fully rewritten herein.

       33.      Defendants have been unjustly enriched to the detriment of the Plaintiff, by failing

to provide a machine that was fully functional and operating correctly at the time of installation,

while retaining the full purchase price of the Machine, totaling $223,304.00.

       34.      As a result, Plaintiff has been damaged in the principal amount of $223,304.00 (the

cost of the Machine), together with damages from lost time, lost materials, lost profits, loss of

business and incidentals, plus attorneys’ fees incurred and to be incurred in connection with

prosecuting this claim, interest and costs which are all related to the Machine’s various

deficiencies.

       WHEREFORE, Plaintiff prays as follows:

                A.      Under Plaintiff’s First Cause of Action, for judgment in favor of Plaintiff

and against Defendants in the principal amount of $223,304.00, together with damages from lost



                                            EXHIBIT
                                                6   H
Case: 3:22-cv-00100-MJN-CHG Doc #: 1-10 Filed: 04/14/22 Page: 7 of 40 PAGEID #: 71




time, lost materials, lost profits, loss of business and incidentals, plus attorneys’ fees incurred and

to be incurred in connection with prosecuting this claim and court costs;

               B.      Under Plaintiff’s Second Cause of Action, for judgment in favor of Plaintiff

and against Defendants in the principal amount of $223,304.00, together with damages from lost

time, lost materials, lost profits, loss of business and incidentals, plus attorneys’ fees incurred and

to be incurred in connection with prosecuting this claim and court costs;

               C.      Under Plaintiff’s Third Cause of Action, for judgment in favor of Plaintiff

and against Defendants in the principal amount of $223,304.00, together with damages from lost

time, lost materials, lost profits, loss of business and incidentals, plus attorneys’ fees incurred and

to be incurred in connection with prosecuting this claim and court costs;

               D.      Under Plaintiff’s Fourth Cause of Action, for judgment in favor of Plaintiff

and against Defendants in the principal amount of $223,304.00, together with damages from lost

time, lost materials, lost profits, loss of business and incidentals, plus attorneys’ fees incurred and

to be incurred in connection with prosecuting this claim and court costs; and

               E.      Under Plaintiff’s Fifth Cause of Action, for judgment in favor of Plaintiff

and against Defendants in the principal amount of $223,304.00, together with damages from lost

time, lost materials, lost profits, loss of business and incidentals, plus attorneys’ fees incurred and

to be incurred in connection with prosecuting this claim and court costs.




                                           EXHIBIT
                                               7   H
Case: 3:22-cv-00100-MJN-CHG Doc #: 1-10 Filed: 04/14/22 Page: 8 of 40 PAGEID #: 72




                                              Respectfully submitted,

                                              s/Richard L. Carr, Jr.
                                              Richard L. Carr, Jr. (0003180)
                                              David M. Rickert (0010483)
                                              AUMAN, MAHAN & FURRY
                                              110 North Main Street, Suite 1000
                                              Dayton, OH 45402-1738
                                              (937) 223-6003 / ext. 3113
                                              (937) 223-8550 (fax)
                                              rlc@amfdayton.com; dmr@amfdayton.com
                                              Attorney for Plaintiff, Olwin Metal Fabrication,
                                              LLC


                                CERTIFICATE OF SERVICE

        I hereby certify that on April 14, 2022, I electronically filed the foregoing with the Clerk
of the Court by using the ECF system which will send a notice of electronic filing to the following:
[NONE].

       I further certify that a copy of the foregoing has been furnished by Federal Express to:

MULTI-CAM, INC.
1025 West Royal Lane
DFW Airport, TX 75261,

MULTICAM GREAT LAKES, INC.
d/b/a MULTICAM OHIO VALLEY
TECHNOLOGY CENTER
2727 Elmridge Drive NW
Grand Rapids, MI 49534,

MULTICAM GREAT LAKES, INC.
d/b/a MULTICAM OHIO VALLEY
TECHNOLOGY CENTER
18 Carnegie Way
Cincinnati, OH 45246

                                              s/Richard L. Carr
                                              Richard L. Carr, Jr. (0003180)




                                          EXHIBIT
                                              8   H
Case: 3:22-cv-00100-MJN-CHG Doc #: 1-10 Filed: 04/14/22 Page: 9 of 40 PAGEID #: 73




                                   EXHIBIT H
                       EXHIBIT A (Page 1 of 5)
Case: 3:22-cv-00100-MJN-CHG Doc #: 1-10 Filed: 04/14/22 Page: 10 of 40 PAGEID #: 74




                                   EXHIBIT H
                       EXHIBIT A (Page 2 of 5)
Case: 3:22-cv-00100-MJN-CHG Doc #: 1-10 Filed: 04/14/22 Page: 11 of 40 PAGEID #: 75




                                   EXHIBIT H
                       EXHIBIT A (Page 3 of 5)
Case: 3:22-cv-00100-MJN-CHG Doc #: 1-10 Filed: 04/14/22 Page: 12 of 40 PAGEID #: 76




                                   EXHIBIT H
                       EXHIBIT A (Page 4 of 5)
Case: 3:22-cv-00100-MJN-CHG Doc #: 1-10 Filed: 04/14/22 Page: 13 of 40 PAGEID #: 77




                                   EXHIBIT H
                       EXHIBIT A (Page 5 of 5)
         Case: 3:22-cv-00100-MJN-CHG Doc #: 1-10 Filed: 04/14/22 Page: 14 of 40 PAGEID #: 78




-------- Forwarded Message --------
Subject:Angle cut charts
    Date:Wed, 17 Nov 2021 16:47:32 -0500
   From:Brian Newhouse <brian@multicamoh.com>
       To:Derrick Olwin <sales@olwinmetalfab.com>


In all the work on the warranty, I neglected to send this to you:

All the standard bevel cuts are thoroughly tested:
A, V, Y, Inverted Y, X and K
Major angles tested 45,30,15
The cut charts are included in the Sigmanest Software

Brian Newhouse
Ohio Valley Sales




18 Carnegie Way | Cincinnati, OH 45246
mobile (513) 515-8962 | office (513) 392-6013
fax (616) 956-8070 | email:brian@multicamoh.com
Confidentiality Note: This email may contain confidential and/or private information. If you received this email in error please delete and notify sender.
NOTICE: The information contained in this email and any document attached hereto is intended only for the named recipient(s). If you are
not the intended recipient, nor the employee or agent responsible for delivering this message in confidence to the intended recipient(s),
you are hereby notified that you have received this transmittal in error, and any review, dissemination, distribution or copying of this
transmittal or its attachments is strictly prohibited. If you have received this transmittal and/or attachments in error, please notify me
immediately by reply e-mail and then delete this message, including any attachments.
ᐧ




                                                                                   1
                                                                         EXHIBIT H
                                                   EXHIBIT B (Page 1 of 1)
Case: 3:22-cv-00100-MJN-CHG Doc #: 1-10 Filed: 04/14/22 Page: 15 of 40 PAGEID #: 79




                                   EXHIBIT H
                      EXHIBIT C (Page 1 of 26)
Case: 3:22-cv-00100-MJN-CHG Doc #: 1-10 Filed: 04/14/22 Page: 16 of 40 PAGEID #: 80




                                   EXHIBIT H
                      EXHIBIT C (Page 2 of 26)
Case: 3:22-cv-00100-MJN-CHG Doc #: 1-10 Filed: 04/14/22 Page: 17 of 40 PAGEID #: 81




                                   EXHIBIT H
                      EXHIBIT C (Page 3 of 26)
Case: 3:22-cv-00100-MJN-CHG Doc #: 1-10 Filed: 04/14/22 Page: 18 of 40 PAGEID #: 82




                                   EXHIBIT H
                      EXHIBIT C (Page 4 of 26)
Case: 3:22-cv-00100-MJN-CHG Doc #: 1-10 Filed: 04/14/22 Page: 19 of 40 PAGEID #: 83




                                   EXHIBIT H
                      EXHIBIT C (Page 5 of 26)
Case: 3:22-cv-00100-MJN-CHG Doc #: 1-10 Filed: 04/14/22 Page: 20 of 40 PAGEID #: 84




                                   EXHIBIT H
                      EXHIBIT C (Page 6 of 26)
Case: 3:22-cv-00100-MJN-CHG Doc #: 1-10 Filed: 04/14/22 Page: 21 of 40 PAGEID #: 85




                                   EXHIBIT H
                      EXHIBIT C (Page 7 of 26)
Case: 3:22-cv-00100-MJN-CHG Doc #: 1-10 Filed: 04/14/22 Page: 22 of 40 PAGEID #: 86




                                   EXHIBIT H
                      EXHIBIT C (Page 8 of 26)
Case: 3:22-cv-00100-MJN-CHG Doc #: 1-10 Filed: 04/14/22 Page: 23 of 40 PAGEID #: 87




                                   EXHIBIT H
                      EXHIBIT C (Page 9 of 26)
Case: 3:22-cv-00100-MJN-CHG Doc #: 1-10 Filed: 04/14/22 Page: 24 of 40 PAGEID #: 88




                                   EXHIBIT H
                     EXHIBIT C (Page 10 of 26)
Case: 3:22-cv-00100-MJN-CHG Doc #: 1-10 Filed: 04/14/22 Page: 25 of 40 PAGEID #: 89




                                   EXHIBIT H
                     EXHIBIT C (Page 11 of 26)
Case: 3:22-cv-00100-MJN-CHG Doc #: 1-10 Filed: 04/14/22 Page: 26 of 40 PAGEID #: 90




                                   EXHIBIT H
                     EXHIBIT C (Page 12 of 26)
Case: 3:22-cv-00100-MJN-CHG Doc #: 1-10 Filed: 04/14/22 Page: 27 of 40 PAGEID #: 91




                                   EXHIBIT H
                     EXHIBIT C (Page 13 of 26)
Case: 3:22-cv-00100-MJN-CHG Doc #: 1-10 Filed: 04/14/22 Page: 28 of 40 PAGEID #: 92




                                   EXHIBIT H
                     EXHIBIT C (Page 14 of 26)
Case: 3:22-cv-00100-MJN-CHG Doc #: 1-10 Filed: 04/14/22 Page: 29 of 40 PAGEID #: 93




                                   EXHIBIT H
                     EXHIBIT C (Page 15 of 26)
Case: 3:22-cv-00100-MJN-CHG Doc #: 1-10 Filed: 04/14/22 Page: 30 of 40 PAGEID #: 94




                                   EXHIBIT H
                     EXHIBIT C (Page 16 of 26)
Case: 3:22-cv-00100-MJN-CHG Doc #: 1-10 Filed: 04/14/22 Page: 31 of 40 PAGEID #: 95




                                   EXHIBIT H
                     EXHIBIT C (Page 17 of 26)
Case: 3:22-cv-00100-MJN-CHG Doc #: 1-10 Filed: 04/14/22 Page: 32 of 40 PAGEID #: 96




                                   EXHIBIT H
                     EXHIBIT C (Page 18 of 26)
Case: 3:22-cv-00100-MJN-CHG Doc #: 1-10 Filed: 04/14/22 Page: 33 of 40 PAGEID #: 97




                                   EXHIBIT H
                     EXHIBIT C (Page 19 of 26)
Case: 3:22-cv-00100-MJN-CHG Doc #: 1-10 Filed: 04/14/22 Page: 34 of 40 PAGEID #: 98




                                   EXHIBIT H
                     EXHIBIT C (Page 20 of 26)
Case: 3:22-cv-00100-MJN-CHG Doc #: 1-10 Filed: 04/14/22 Page: 35 of 40 PAGEID #: 99




                                   EXHIBIT H
                     EXHIBIT C (Page 21 of 26)
Case: 3:22-cv-00100-MJN-CHG Doc #: 1-10 Filed: 04/14/22 Page: 36 of 40 PAGEID #: 100




                                    EXHIBIT H
                      EXHIBIT C (Page 22 of 26)
Case: 3:22-cv-00100-MJN-CHG Doc #: 1-10 Filed: 04/14/22 Page: 37 of 40 PAGEID #: 101




                                    EXHIBIT H
                      EXHIBIT C (Page 23 of 26)
Case: 3:22-cv-00100-MJN-CHG Doc #: 1-10 Filed: 04/14/22 Page: 38 of 40 PAGEID #: 102




                                    EXHIBIT H
                      EXHIBIT C (Page 24 of 26)
Case: 3:22-cv-00100-MJN-CHG Doc #: 1-10 Filed: 04/14/22 Page: 39 of 40 PAGEID #: 103




                                    EXHIBIT H
                      EXHIBIT C (Page 25 of 26)
Case: 3:22-cv-00100-MJN-CHG Doc #: 1-10 Filed: 04/14/22 Page: 40 of 40 PAGEID #: 104




                                    EXHIBIT H
                      EXHIBIT C (Page 26 of 26)
